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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


                                                     )
VIRGINIA INNOVATION SCIENCES, INC.,                  )    Case No. 1:16-cv-00861 (LO-MSN)
                                                     )
                      Plaintiff,                     )
                                                     )
               v.                                    )
                                                     )
AMAZON.COM, INC.,                                    )
                                                     )
                      Defendant.                     )
                                                     )

                MOTION OF DEFENDANT AMAZON.COM, INC.
          FOR ENTRY OF JUDGMENT PURSUANT TO FED. R. CIV. P. 54(B)
       Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, Defendant Amazon.com,

Inc. (“Amazon”) respectfully moves this Court for entry of judgment of invalidity of U.S. Patent

Nos. 7,899,492, 8,050,711, 8,903,451, 8,948,814, 9,118,794, 8,712,471, 9,286,853, and

9,355,611 (collectively, the “’492 patent family”) and judgment in Amazon’s favor with respect

to counts I through VIII of Plaintiff Virginia Innovation Sciences, Inc.’s (“VIS”) amended com-

plaint. (Dkt. No. 59). As set forth in the accompanying Memorandum in Support of the Motion

of Defendant Amazon.com, Inc. for Entry of Judgment Pursuant to Fed. R. Civ. P. 54(b), Ama-

zon seeks entry of judgment so that Amazon is not deprived of the opportunity to participate in

VIS’s pending appeal of the Court’s order in this case.

Date: February 3, 2017                             Respectfully submitted,

                                                   AMAZON.COM, INC.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of February, 2017, I electronically filed the foregoing

pleading with the Clerk of the Court using the CM/ECF System, which will then send a notifica-

tion of such filing (NEF) to the following:

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